         Case: 1:20-cv-05554
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    FIL E  DTHE Northern
                CPUNITED STATES DISTRICT COURT
      8/2020
         FOR             District of Illinois − CM/ECF LIVE, Ver 6.3.3
      9/1                                   Western Division
             . BRUTO    N
   THOMA.SDG
           IS T R IC T COURT
CLERK, U.S
    Marcus Hughes
                               Plaintiff,
    v.                                                Case No.: 3:19−cv−50281
                                                      Honorable Matthew F. Kennelly
    Boebel, et al.
                               Defendant.
                                                               1:20-CV-05554
                               DIVISIONAL TRANSFER NOTICE

    DIVISIONAL TRANSFER Notice. Case transferred to Eastern Division − Chicago. (jp, )

                                                      JUDGE KENNELLY
                                                  MAGISTRATE JUDGE VALDEZ
